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                       IN THE UNITED STATES BANKRUPTCY COURT
                    MIDDLE DISTRICT OF FLORIDA, FORT MYERS DIVISION
In Re:

DIANE LYNN ROBERTS                                        Case No. 9:19-bk-06179-FMD

                       Debtor.                        /

                     MOTION TO SELL PROPERTY OF THE ESTATE FREE
                     AND CLEAR OF PURPORTED LIENS AND INTERESTS

         A preliminary hearing in this case will be held on January 23, 2020 at 9:30 a.m. in Fort Myers
 Federal Building and Federal Courthouse, Room 4-117, Courtroom E, 2110 First Street, Fort Myers,
 Florida 33901 to consider and act upon the following or this matter and transact such other business that
 may come before the Court: Motion to Sell Property of the Estate Free and Clear of Purported Liens
 and Interests.

 1.      The hearing may be continued upon announcement made in open court without further notice.
 2.      Appropriate Attire – You are reminded that Local Rule 5072-1(b)(16) required that all persons
         appearing in court should dress in business attire consistent with their financial abilities. Shorts,
         sandals, shirts without collars, including tee shirts and tank tops, are not acceptable.
 3.      Avoid delays at courthouse security checkpoints. You are reminded that Local Rule 5073-1
         restricts the entry of cellular telephones and, except in Orlando, computers into the courthouse
         absent a specific order of authorization issued beforehand by the presiding judge. Due to
         heightened security procedures, persons must present photo identification to enter the courthouse.




        COMES NOW the Trustee in the above-styled case, ROBERT E. TARDIF JR., and files this
Motion to Sell Property of the Estate Free and Clear of Liens and Interests and moves this Court pursuant
to 11 U.S.C. §§ 105 and 363(f) and Rule 6004 for entry of an Order authorizing the sale of property of the
estate by private sale free and clear of liens and interests and states as follows:

1.     The Debtor filed this bankruptcy case and Robert E. Tardif Jr., has been appointed as Trustee to
administer the case.

2.      Property: Trustee proposes to sell the bankruptcy estate’s interest in the following property: Cedar
Hammock Unit 6, Blk H Lot 7 NKA Villas IV at Cedar Hammock (HO) Lot H-7 (3749 Buttonwood Way,
Unit 7, Naples, Florida 34112).

3.      Purchaser: The proposed purchaser are Theodore Januszewski and Gena Olstad, their permitted
assigns or designees. To the Trustee’s knowledge the purchaser does not have any relationship to the Debtor
or any other party in interest. The purchase and sale agreement with attachments is voluminous so the
Trustee is not attaching the agreement to this motion in order to reduce mailing costs. The Trustee will
provide a complete copy of the agreement to any party in interest that makes a request and provides an
email address to receive a copy.

4.      Price: The selling price is $365,500.00. The Trustee has not had the property appraised. However,
the Trustee retained a real estate agent, and the sales price represents an arms-length negotiated amount.
The Trustee, after due diligence, believes the selling price is fair and reasonable.
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5.       The following appear to have an interest in the properties to be sold by the Trustee:

Parties in Interest                           Nature of Interest                                   Amount

Regions Bank                                  Mortgage Lien                      Approx.              $388,966.00
Regions Bank                                  Mortgage Lien                      Approx.              $ 90,166.00

6.       Section 363(f) of the Bankruptcy Code provides, in pertinent part, that: "the trustee may sell
property . . . free and clear of any interest in such property and of an entity other than the estate, only if – (2)
such entity consents; or (3) such interest is a lien and the price at which such property is to be sold is greater
than the aggregate value of all liens on such property; or (4) such interest is in bona fide dispute; . . . ."

7.       With regard to the above Parties in Interest, the Trustee believes that the necessary requirements
for a sale free and clear of liens and interests exist by stating the following:

         a.        Regions Bank – This Party in Interest has a first priority lien and a second priority lien
         against the property by virtue of a recorded mortgages against the property. The Trustee anticipates
         that this party may receive full payment. The expected net proceeds of the sale being proposed is
         more than the amount due so the Court can approve the sale pursuant to § 363(f)(3) with regard to
         this interest. However, the Trustee believes that if the net proceeds are not sufficient to pay this party
         in full (if the transaction is a short sale), it will consent to the sale by accepting a payment less than it
         is due so the Court can approve the sale pursuant to § 363(f)(2).

8.       The sale of the property free and clear of liens of the above-named individuals and entities is in the
best interests of the Debtors’ estate, its creditors and other parties in interest.

9.   Terms: The property is being sold “AS IS, WHERE IS WITH ALL FAULTS AND DEFECTS
THEREIN” with no representations or warranties of any kind.

10.    Benefit to Estate: The Trustee believes the net sales proceeds to the estate will be approximately
$17,500.00. This is a short sale transaction with a carve-out to the bankruptcy estate.

11.      Closing Costs: The Trustee expects to pay the following undisputed liens, claims or costs at the
closing:

         a.           Regions Bank (1st Mortgage) – Approximately $307,100.00

         b.           Regions Bank (2nd Mortgage Line of Credit) – Approximately $6,000.00

         c.           Commission – Debra Monterosso/National Default Realty, BK Global and any cooperating
                      agent/broker, if any - $21,930.00.

         d.           Other reasonable and customary closing costs to the Trustee, as Seller, which may include
                      the following:

                   i.     Settlement/Closing Charges (Approximately)                                    $   1,295.00
                  ii.     Title & Lien Search & Examination (Approximately)                             $     670.00
                iii.      Document Preparation                                                          $     495.00
                 iv.      Title Insurance Policy                                                        $   1,580.00
                  v.      HOA Assessments & Transfer Fee                                                $     625.00
                 vi.      Recording Fees & Estoppel Reimbursements                                      $     865.00
                vii.      Reasonable and customary closing costs not to exceed                          $     500.00
               viii.      Documentary Stamp Tax (State and/or County)                                   $   2,600.00
                 ix.      2019 Taxes and/or Prorated taxes                                              $   4,975.00
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              x.       Trustee Liability Insurance                                                 $    650.00

        e.         A true and accurate copy of an estimated net sheet or closing statement is attached to this
                   motion.

        f.         Since this motion contemplates a short-sale scenario, it is possible that there may be slight
                   variances in the amounts to be paid to lienholders. However, it is the expectation that the
                   net amount to be received by the estate shall be the amount stated above.

12.     Request to Waive Stay: At the hearing on this motion the Trustee will request that the Court enter
        an order waiving the 14-day stays set forth in Rules 6004(h) and 6006(d) of the Federal Rules of
        Bankruptcy Procedure and providing that the order granting this motion be immediately
        enforceable and that the closing under the purchase agreement may occur immediately.

        WHEREFORE the Trustee moves the Court for entry of an Order authorizing the sale of the above-
described property free and clear of liens and interests pursuant to Section 363(f), in accordance with the
terms stated herein.

                                              Certificate of Service

         I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished
Electronically to the Assistant United States Trustee, Neil Morales and those appearing in this case who
are registered with CM/ECF and by Certified Mail to John M. Turner, Jr., President and CEO of Regions
Bank, 1900 Fifth Avenue North, Birmingham, AL 35203 and by Regular U.S. Mail to Diane Lynn
Roberts, 3749 Buttonwood Way, Naples, FL 34112 and those creditors and parties in interest on the
attached matrix on December 12, 2019 that are required to be served pursuant to Local Rule 2002-1(c).

                                                           /s/ Robert E. Tardif Jr.
                                                           Robert E. Tardif Jr., Trustee
                                                           P.O. Box 2140
                                                           Fort Myers, Florida 33902
                                                           Telephone: 239/362-2755
                                                           Facsimile: 239/362-2756
                                                           Email: rtardif@comcast.net
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  Ocean Title LLC                                                                                                     ALTA Combined Se lement Statement
  1095 Broken Sound Pkwy NW
  Ste 100
  Boca Raton, FL 33487
  (866) 202‐8200


  File #:                     OT‐102                      Property             3749 Bu onwood Way           Se lement Date    01/10/20
  Prepared:                   12/11/19                                         Unit 7                       Disbursement Date 01/10/20
  Escrow Oﬃcer:               Joshua M. Liszt Esq.                             Naples, FL 34112
                                                                               CEDAR HAMMOCK UNIT 6
                                                                               BLK H LOT 7 NKA VILLAS IV
                                                                               AT CEDAR HAMMOCK
                                                                               (HO) LOT H‐7
                                                          Buyer                Theodore Januszewski and
                                                                               Gena Olstad
                                                                               19 Lincoln Ave
                                                                               Round lakes, IL 60073
                                                          Seller               Robert Tardif, as Trustee of
                                                                               the Bankruptcy Estate of
                                                                               Diane Roberts
                                                                               P.O. Box 2140
                                                                               Fort Myers, FL 33092
                                                          Lender




                    Seller                                                                                                           Buyer
        Debit                   Credit                                                                                       Debit              Credit
                                              Primary Charges & Credits
                               $365,500.00 Sales Price of Property                                                          $365,500.00
                                              Deposit                                                                                            $3,500.00
                                              Loan Amount                                                                                     $150,000.00


                                              Prora ons/Adjustments
                                 $1,570.98 Assessments 01/10/2020 to 09/30/2020                                               $1,570.98
             $74.58                           County Taxes 01/01/2020 to 01/10/2020                                                                  $74.58
                                   $466.01 HOA Quarterly 01/10/2020 to 03/31/2020                                               $466.01
            $525.00                           Title Policy Adjustment                                                                              $525.00


                                              Loan Charges
            $175.00                           Abstract Title Search to Fidelity Na onal Title Insurance Company
            $495.00                           Document Prepara on to Liszt Law PA


                                              Payoﬀs/Payments
      $307,084.24                             Payoﬀ to Regions Bank
         $6,000.00                            Payoﬀ to Regions Bank


                                              Government Recording and Transfer Charges
             $71.00                           Recording Fees                                                                    $171.50
                                              ‐‐‐Deed: $52.50
                                              ‐‐‐Mortgage: $171.50
                                              ‐‐‐Aﬃdavit of Compliance: $18.50
         $2,558.50                            Documentary Stamp Tax (State Deed Taxes) to Oﬃcial Records Department
                                              Documentary Stamp Tax (State Security Instrument Taxes) to Oﬃcial                 $525.00
                                              Records Department
                                              Intangible Tax (State Security Instrument Taxes) to Oﬃcial Records                $300.00
                                              Department

                                              Commissions




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                    Seller                                                                                                          Buyer
        Debit                  Credit                                                                                       Debit              Credit
         $7,310.00                          Lis ng Agent Commission to Na onal Default Realty, LLC dba The
                                            Monterosso REO Team
         $7,310.00                          Selling Agent Commission to Equity Realty


                                            Title Charges
                                            Title ‐ Lender's Title Policy to Fidelity Na onal Title Insurance Company        $1,095.25
         $1,295.00                          Title ‐ Se lement Fee to Ocean Title LLC                                         $1,295.00
            $275.00                         Title Exam Fee to Fidelity Na onal Title Insurance Company / Ocean Title,
                                            LLC (Reimb.)
         $1,597.75                          Title ‐ Owner's Title Policy to Fidelity Na onal Title Insurance Company


                                            Miscellaneous Charges
         $4,898.12                          2019 Property Taxes to Collier County Tax Collector
        $18,275.00                          BK Estate fee to Robert Tardif, as Trustee of the Bankruptcy Estate of Diane
                                            Roberts
         $7,310.00                          Co‐Broker Fee to BK Global
               $9.00                        e‐Recording Fees to Simpliﬁle                                                        $9.00
            $431.00                         Estoppel (reimbursement) to Ocean Title LLC
            $525.00                         HOA/Quaterly Jan to VILLAS IV AT CEDAR HAMMOCK ASSOCIATION,
                                            INC.
            $217.80                         Lien Search & update to Ocean Title LLC (Reimb.)
            $100.00                         Record Mo on to Sell to Oﬃcial Records Department
            $250.00                         Terminate NOC (prep & recording) to Simpliﬁle / Ocean Title, LLC
            $100.00                         Transfer Fee to VILLAS IV AT CEDAR HAMMOCK ASSOCIATION, INC.
            $650.00                         Trustee Liability Insurance to Robert Tardif, as Trustee of the Bankruptcy
                                            Estate of Diane Roberts


                    Seller                                                                                                          Buyer
        Debit                  Credit                                                                                       Debit              Credit
      $367,536.99             $367,536.99                                     Subtotals                                    $370,932.74       $154,099.58
                                                                            Due from Buyer                                                   $216,833.16
                                    $0.00                                   Due from Seller
      $367,536.99             $367,536.99                                       Totals                                     $370,932.74       $370,932.74


  See signature addendum




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Using Qualia                                                                      Page 2 of 2                                                            OT‐102
                                                                                                                                            Printed on 12/11/19
                             Case 9:19-bk-06179-FMD
Label Matrix for local noticing              BK Global Real Doc
                                                             Estate 21     Filed 12/12/19
                                                                     Services               Page  6 ofReal
                                                                                             BK Global 12 Estate Services
113A-9                                       2000 E. Lamar Blvd Suite 710                     Attn: Patrick Butler
Case 9:19-bk-06179-FMD                       Arlington, TX 76006-7341                         1095 Broken Sound Parkway, NW
Middle District of Florida                                                                    Suite 100
Ft. Myers                                                                                     Boca Raton, FL 33487-3503
Thu Dec 12 10:35:10 EST 2019
Regions Bank d/b/a Regions Mortgage          Ally                                             Ally
Regions Mortgage                             P.O. Box 380902                                  Payment Processing Center
7130 Goodlett Farms Parkway A4W              Bloomington, MN 55438-0902                       P.O. Box 78234
Cordova, TN 38016-4991                                                                        Phoenix, AZ 85062-8234


Ally Financial                                 Ally Financial                                 Ally Financial
200 Renaissance Ctr                            Attn: Bankruptcy Dept                          P.O. Box 78234
Detroit, MI 48243-1300                         PO Box 380901                                  Phoenix, AZ 85062-8234
                                               Bloomington, MN 55438-0901


Ally Financial                                 Ally Financial                                 AmeriCredit
P.O. Box 8110                                  Payment Processing Center                      801 Cherry Bank
Cockeysville, MD 21030-8110                    P.O. Box 9001951                               Suite 3500
                                               Louisville, KY 40290-1951                      Fort Worth, TX 76102


AmeriCredit/GM Financial                       American   Express                             American Express
Attn: Bankruptcy                               Customer   Service                             P.O. Box 0001
PO Box 183853                                  P.O. Box   981535                              Los Angeles, CA 90096-0001
Arlington, TX 76096-3853                       El Paso,   TX 79998-1535


American Express                               American Express                               American Express
P.O. Box 0112                                  P.O. Box 297871                                P.O. Box 297879
Palatine, IL 60055-0112                        Fort Lauderdale, FL 33329-7871                 Fort Lauderdale, FL 33329-7879



American Express                               American Express                               American Express
P.O. Box 360001                                P.O. Box 360002                                P.O. Box 650448
Fort Lauderdale, FL 33336-0001                 Fort Lauderdale, FL 33336-0002                 Dallas, TX 75265-0448



American Express                               American Express Bank, FSB                     American Express*
c/o Becket & Lee LP                            World Financial Center                         c/o Becket & Lee
P.O. Box 3001                                  200 Vesey Street, 44th Floor                   16 General Warren Boulevard
Malvern, PA 19355-0701                         New York, NY 10285-3820                        P.O. Box 3001
                                                                                              Malvern, PA 19355-0701

Americredit                                    Americredit                                    Americredit/GM Financial
801 Cherry Street                              P.O. Box 181145                                4001 Embarcadero Drive
Suite 3600                                     Arlington, TX 76096-1145                       Arlington, TX 76014-4106
Fort Worth, TX 76102-6855


Amex                                           Bank United                                    BankUnited NA
PO Box 297871                                  7815 NW 148th Street                           14817 Oak Ln
Fort Lauderdale, FL 33329-7871                 Miami,FL 33016-1554                            Miami Lakes FL 33016-1517
Cedar Hammock Golf & Country Case 9:19-bk-06179-FMD         Doc 21
                                             Cedar Hammock HOA              Filed 12/12/19   Page
                                                                                              Citi 7 of 12
Homeowners’ Association                      c/o Lindsay & Allen, PLLC                        P.O. Box 6286
8660 Cedar Hammock Blvd                      13180 Livingston Road                            Sioux Falls, SD 57117-6286
Naples, FL 34112-3300                        Suite 206
                                             Naples, FL 34109-3934

Citi Bank                                      (p)CITIBANK                                    Citi Cards*
P.O. Box 6500                                  PO BOX 790034                                  P.O. Box 6097
Sioux Falls, SD 57117-6500                     ST LOUIS MO 63179-0034                         Sioux Falls, SD 57117-6097



Citi Financial Retail*                         Citi-Card                                      Citi/Sears
P.O. Box 9001006                               P.O. Box 6500                                  Bankruptcy Dept
Louisville, KY 40290-1006                      Sioux Falls, SD 57117-6500                     PO Box 790034
                                                                                              St Louis, MO 63179-0034


CitiBusiness Card                              Citibank*                                      Citibank, N.A.*
P.O. Box 6235                                  P.O. Box 790034                                701 East 60th Street North
Sioux Falls, SD 57117-6235                     Saint Louis, MO 63179-0034                     Sioux Falls, SD 57104-0493



(p)CITIFINANCIAL                               Citifinancial*                                 Comenity - Bealls Dept Store
BANKRUPTCY FORECLOSURE UNIT                    4050 Regent Blvd                               P.O. Box 659705
1000 TECHNOLOGY DRIVE                          Irving, TX 75063-2246                          San Antonio, TX 78265-9705
OFALLON MO 63368-2239


Comenity Bank                                  Comenity Bank                                  Comenity Bank
220 W Schrock Rd                               4590 E Broad St                                Attn: Bankruptcy
Westerville, OH 43081-2873                     Columbus, OH 43213-1301                        PO Box 182125
                                                                                              Columbus, OH 43218-2125


Comenity Bank                                  Comenity Bank                                  Comenity Bank
Bankruptcy Department                          Customer Service                               P.O. Box 182782
183043                                         P.O. Box 183003                                Columbus, OH 43218-2782
Columbus, OH 43218-3043                        Columbus, OH 43218-3003


Comenity Bank                                  Comenity Bank                                  Comenity Bank
P.O. Box 5138                                  P.O. Box 659617                                P.O. Box 659705
LuthervilleTimonium, MD 21094-5138             San Antonio, TX 78265-9617                     San Antonio, TX 78265-9705



Comenity Bank                                  Comenity Bank                                  Comenity Bank
P.O. Box 659728                                PO Box 182272                                  PO Box 182789
San Antonio, TX 78265-9728                     Columbus, OH 43218-2272                        Columbus, OH 43218-2789



Comenity Bank*                                 Comenity Bank/Bealls Florida                   Comenity Bank/Beallsol
c/o Quantum3 Group LLC                         Attn: Bankruptcy                               220 W Schrock Rd
P.O. Box 788                                   PO Box 182125                                  Westerville, OH 43081-2873
Kirkland, WA 98083-0788                        Columbus, OH 43218-2125
Comenity Bank/Talbots          Case 9:19-bk-06179-FMD
                                               Comenity Bk     Doc 21          Filed 12/12/19   Page  8 ofCapital
                                                                                                 Comenity   12
Attn: Bankruptcy                                 Attn: Bankruptcy                                 PO Box 182120
PO Box 182125                                    PO Box 182125                                    Columbus, OH 43218-2120
Columbus, OH 43218-2125                          Columbus, OH 43218-2125


Dept Store Nat Bank/Macy’s                       Dept Str Nat Bank/Macy’s                         (p)DISCOVER FINANCIAL SERVICES LLC
Attn: Bankruptcy                                 Attn: Bankruptcy                                 PO BOX 3025
9111 Duke Boulevard                              9111 Duke Boulevard                              NEW ALBANY OH 43054-3025
Mason, OH 45040-8999                             Mason, OH 45040-8999


Discover                                         Discover Bank                                    Discover Bank
P.O. Box 71084                                   2500 Lake Cook Road                              P.O. Box 6103
Charlotte, NC 28272-1084                         Riverwoods, IL 60015-3801                        Carol Stream, IL 60197-6103



Discover Card                                    Discover Card                                    Discover Card Fin Serv
P.O. Box 71084                                   P.O. Box 960013                                  Attn: Bankruptcy Dept
Charlotte, NC 28272-1084                         Orlando, FL 32896-0013                           P.O. Box 15316
                                                                                                  Wilmington, DE 19850-5316


Discover Card Fin Serv                           Discover Card Fin Serv                           Discover Card Fin Serv
P.O. Box 15316                                   P.O. Box 3008                                    P.O. Box 71084
Wilmington, DE 19850-5316                        New Albany, OH 43054-3008                        Charlotte, NC 28272-1084



Discover Fin Svcs Llc                            Discover Personal Loans                          First Bankcard
PO Box 15316                                     P.O. Box 6105                                    Bankcard Payment Processing
Wilmington, DE 19850-5316                        Carol Stream, IL 60197-6105                      P.O. Box 2557
                                                                                                  Omaha, NE 68103-2557


First Bankcard                                   First Bankcard                                   Freddie Mac
c/o First Natl Bank of Omaha                     c/o First Natl Bank of Omaha                     8200 Jones Branch Drive
Omaha, NE 68103                                  Omaha, NE 68197-0001                             Mc Lean, VA 22102-3110



I’ve Been Framed, LLC                            Lincoln Automotive Fin Serv                      Lowe’s
1410 Pine Ridge Road                             Attn: Bankruptcy                                 P.O. Box 530914
Unit 12                                          PO Box 542000                                    Atlanta, GA 30353-0914
Naples, FL 34108-8905                            Omaha, NE 68154-8000


Lowe’s/Synchrony Bank                            Macy’s Propriety*                                Macys
P.O. Box 530914                                  P.O. Box 9001094                                 13141 34th Street North
Atlanta, GA 30353-0914                           Louisville, KY 40290-1094                        Clearwater, FL 33762-4259



Macys                                            Macys                                            Macys
911 Duke Blvd                                    P.O. Box 8066                                    P.O. Box 8118
Mason, OH 45040                                  Mason, OH 45040-8066                             Mason, OH 45040-8118
Macys                         Case 9:19-bk-06179-FMD         Doc 21
                                              Macys Bktcy Dept*               Filed 12/12/19   Page  9 of& Orthopedic
                                                                                                Oncology   12         Phys
P.O. Box 9001094                                Attn: Bankruptcy Dept                            840 111th Avenue N.
Louisville, KY 40290-1094                       P.O. Box 8053                                    Suite 1
                                                Mason, OH 45040-8053                             Naples, FL 34108-1868


PNC Bank                                        PNC Bank                                         PNC Bank, N.A.
Attn: Bankruptcy Department                     P.O. Box 609                                     P.O. Box 25965
PO Box 94982                                    Pittsburgh, PA 15230-0609                        Shawnee Mission, KS 66225-5965
Mailstop Br-Yb58-01-5
Cleveland, OH 44101-4982

PNC Bank, N.A.                                  PNC Bank, N.A.                                   PNC Fin Serv Group, Inc.
P.O. Box 609                                    c/o PNC Bank NA                                  249 Fifth Avenue
Pittsburgh, PA 15230-0609                       #538152                                          Pittsburgh, PA 15222-2707
                                                1669 Phoenix Pkwy Ste 210
                                                Atlanta, GA 30349-5463

PNC Mortgage                                    Region/Ams                                       Region/Ams
6 N Main St                                     P.O. Box 216                                     PO Box 11007
Dayton, OH 45402-1908                           Birmingham, AL 35201-0216                        Birmingham, AL 35288-0001



Regional Acceptance Corp.                       Regional Acceptance Corp.                        Regional Acceptance Corp.
2650 McCormick Drive                            P.O. Box 580075                                  P.O. Box 830913
#170                                            Charlotte, NC 28258-0075                         Birmingham, AL 35283-0913
Clearwater, FL 33759-1032


Regions Bank                                    Regions Bank                                     Regions Bank
1900 Fifth Avenue North                         2050 Parkway Office Circle                       Attn: Bankruptcy
Birmingham, AL 35203-2670                       Hoover, AL 35244-1805                            1900 Fifth Avenue North
                                                                                                 Birmington, AL 35203-2670


Regions Bank                                    Regions Bank                                     Regions Bank
Attn: Bankruptcy                                Consumer Loan Processing                         P.O. Box 1984
PO Box 10063                                    P.O. Box 2224                                    Birmingham, AL 35201-1984
Birmingham, AL 35202-0063                       Birmingham, AL 35246-0026


Regions Bank                                    Regions Bank                                     Regions Mortgage
c/o Corp Service Company                        c/o J. Andrew Baldwin, Esq.                      Attn: Bankruptcy
1201 Hays Street                                1881 West Kennedy Blvd.                          PO Box 18001
Tallahassee, FL 32301-2699                      Tampa, FL 33606-1611                             Hattiesburg, MS 39404-8001


Regions/Ams                                     Sears                                            Sears Card
P.O. Box 11007                                  P.O. Box 6241                                    P.O. Box 6189
Birmingham, AL 35288-0002                       Sioux Falls, SD 57117-6241                       Sioux Falls, SD 57117-6189



Sears Card                                      Sears Credit Cards                               Sears Mastercards
P.O. Box 6282                                   P.O. Box 9001055                                 Card Services Center
Sioux Falls, SD 57117-6282                      Louisville, KY 40290-1055                        P.O. Box 6275
                                                                                                 Sioux Falls, SD 57117-6275
Sears c/c                  Case 9:19-bk-06179-FMD
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                                                                                Sears/Cbna
P.O. Box 6282                              701 E 60th Street North              PO Box 6283
Sioux Falls, SD 57117-6282                 P.O. Box 6241                        Sioux Falls, SD 57117-6283
                                           Sioux Falls, SD 57117-6241


Sears/Cbsd                              SunTrust                                SunTrust
PO Box 6189                             Commercial Credit Services              P.O. Box 305053
Sioux Falls, SD 57117-6189              P.O. Box 4418                           Nashville, TN 37230-5053
                                        Atlanta, GA 30302-4418


SunTrust Bank                           SunTrust Bank                           SunTrust Bank
1001 Semmes Avenue                      15225 Collier Blvd.                     7455 Chancellor Drive
6th Floor                               Naples, FL 34119-7715                   Orlando, FL 32809-6213
Richmond, VA 23224-2245


(p)BANK OF AMERICA                      SunTrust Bank                           SunTrust Bank
PO BOX 982238                           P.O. Box 85526                          c/o Legal Department
EL PASO TX 79998-2238                   Richmond, VA 23285-5526                 303 Peachtree Street NE
                                                                                Atlanta, GA 30308-3201


SunTrust Bank Recovery Dept             SunTrust Bank*                          Suntrust Bank
P.O. Box 85041                          Default Management Recovery             Attn: Bankruptcy
Richmond, VA 23285-5041                 11011 W Broad Street                    Mail Code VA-RVW-6290
                                        Glen Allen, VA 23060-5937               PO Box 85092
                                                                                Richmond, VA 23285-5092

Syncb                                   Syncb Bank                              Syncb Bank
PO Box 965007                           P.O. Box 960013                         P.O. Box 960061
Orlando, FL 32896-5007                  Orlando, FL 32896-0013                  Orlando, FL 32896-0061



Syncb Bank                              Synchrony Bank                          Synchrony Bank
P.O. Box 965064                         Attn: Bankruptcy Dept.                  P.O. Box 960061
Orlando, FL 32896-5064                  P.O. Box 965061                         Orlando, FL 32896-0061
                                        Orlando, FL 32896-5061


Synchrony Bank                          Synchrony Bank                          Synchrony Bank
P.O. Box 965004                         P.O. Box 965007                         P.O. Box 965008
Orlando, FL 32896-5004                  Orlando, FL 32896-5007                  Orlando, FL 32896-5008



Synchrony Bank                          Synchrony Bank                          Synchrony Bank/Lowes
P.O. Box 965022                         P.O. Box 965033                         Attn: Bankruptcy
Orlando, FL 32896-5022                  Orlando, FL 32896-5033                  PO Box 965060
                                                                                Orlando, FL 32896-5060


The Great Frame Up                      The Great Frame Up                      The Great Frame Up
100 Glenborough Drive                   101 South Hanley Road                   14300 Cornerstone Village Dr
14th Floor                              Suite 1280                              Suite 321
Houston, TX 77067-3600                  Saint Louis, MO 63105-3406              Houston, TX 77014-1249
The Great Frame Up            Case 9:19-bk-06179-FMD        Doc 21
                                              United States Trustee      Filed 12/12/19
                                                                    - FTM7/13               Page  11IVofat12
                                                                                              Villas       Cedar Hammock
P.O. Box 1187                                    Timberlake Annex, Suite 1200                  c/o American Prop Mgmt Serv
Houston, TX 77251-1187                           501 E Polk Street                             8825 Tamiami Trail East
                                                 Tampa, FL 33602-3949                          Naples, FL 34113-3347


Visa Dpt Str Nat Bk/Macy’s                       (p)VOLKSWAGEN CREDIT UNION                    Volkswagen Credit
Attn: Bankruptcy                                 1401 FRANKLIN BLVD                            P.O. Box 5205
PO Box 8053                                      LIBERTYVILLE IL 60048-4460                    Carol Stream, IL 60197-5205
Mason, OH 45040-8053


Volkswagen Credit                                Volkswagen Credit, Inc                        Wells Fargo
P.O. Box 5215                                    Attn: Bankruptcy                              1 Home Campus
Carol Stream, IL 60197-5215                      PO Box 3                                      Des Moines, IA 50328-0001
                                                 Hillboro, OR 97123-0003


(p)WELLS FARGO BANK NA                           Wells Fargo                                   Wells Fargo
WELLS FARGO HOME MORTGAGE AMERICAS SERVICING     P.O. Box 29704                                P.O. Box 31557
ATTN BANKRUPTCY DEPT MAC X7801-014               Phoenix, AZ 85038-9704                        Billings, MT 59107-1557
3476 STATEVIEW BLVD
FORT MILL SC 29715-7203

Wells Fargo Bank                                 Wells Fargo Bank *                            Wells Fargo Bank NA
P.O. Box 5169                                    7000 Vista Dr.                                Attn: Bankruptcy
Sioux Falls, SD 57117-5169                       West Des Moines, IA 50266-9310                1 Home Campus Mac X2303-01a
                                                                                               Des Moines, IA 50328-0001


Wells Fargo Bank*                                Wells Fargo Bank, Legal Orde                  Wells Fargo Bank, N.A.
7000 Vista Drive #N8235-10                       P.O. Box 29779                                3815 South West Temple
West Des Moines, IA 50266-9310                   MAC S4001-01E                                 Salt Lake City, UT 84115-4412
                                                 Phoenix, AZ 85038-9779


Wells Fargo Bank, N.A.                           Wells Fargo Bank, N.A.*                       Wells Fargo Card Services
P.O. Box 522                                     c/o Wfds Bktcy Dept                           P.O. Box 10347
Des Moines, IA 50306-0522                        P.O. Box 3569                                 Des Moines, IA 50306-0347
                                                 Rancho Cucamonga, CA 91729-3569


Wells Fargo Card Services                        Wells Fargo Card Services                     Wells Fargo Card Services*
P.O. Box 30086                                   P.O. Box 51193                                7000 Vista Drive
Los Angeles, CA 90030-0086                       Los Angeles, CA 90051-5493                    West Des Moines, IA 50266-9310



Wells Fargo Financial                            Wells Fargo*                                  Debra Monterosso
800 Walnut Street                                P.O. Box 660553                               15275 Collier Blvd. # 201-385
Des Moines, IA 50309-3891                        Dallas, TX 75266-0553                         Naples, FL 34119-6750



Diane Lynn Roberts                               Neil Morales                                  Robert E Tardif Jr.
3749 Buttonwood Way                              The Law Offices of Neil Morales, P.A.         Trustee
Naples, FL 34112-3349                            2272 Airport Pulling Rd South, Suite 209      Post Office Box 2140
                                                 Naples, FL 34112-4837                         Fort Myers, FL 33902-2140
                            Case 9:19-bk-06179-FMD                 Doc 21       Filed 12/12/19        Page 12 of 12

                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Citi Cards                                           Citifinancial                                        Discover
P.O. Box 6409                                        300 Saint Paul PL                                    P.O. Box 30943
The Lakes, NV 88901-6409                             Baltimore, MD 21202                                  Salt Lake City, UT 84130



(d)Discover                                          (d)Discover Bank                                     (d)Discover Bank
PO Box15316                                          P.O. Box 30943                                       c/o Discover Products, Inc.
Wilmington, DE 19850-5316                            Salt Lake City, UT 84130                             6500 New Albany Road
                                                                                                          New Albany, OH 43054


(d)Discover Card                                     (d)Discover Card                                     (d)Discover Financial
P.O. Box 15156                                       P.O. Box 30943                                       Attn: Bankruptcy Department
Wilmington, DE 19850-5156                            Salt Lake City, UT 84130                             PO Box 15316
                                                                                                          Wilmington, DE 19850


SunTrust Bank                                        Volkswagen Credit                                    Wells Fargo
P.O. Box 15726                                       Attn: Payoff Department                              8480 Stagecoach Cir
Wilmington, DE 19886-5726                            P.O. Box 7498                                        Frederick, MD 21701
                                                     Libertyville, IL 60048-7498




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)Discover Card                                     (d)Lowe’s                                            (d)Sears Credit Cards*
P.O. Box 71084                                       P.O. Box 530914                                      P.O. Box 9001055
Charlotte, NC 28272-1084                             Atlanta, GA 30353-0914                               Louisville, KY 40290-1055



End of Label Matrix
Mailable recipients   179
Bypassed recipients     3
Total                 182
